              Case 2:21-mc-00082-RSL Document 5 Filed 09/29/21 Page 1 of 2



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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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      EMPLOYEE PAINTERS’ TRUST, et al.,
                                                              Cause No. MC21-0082RSL
 9
                             Plaintiffs,

10
                  v.                                          ORDER DECLINING TO ISSUE
                                                              WRIT OF GARNISHMENT
11
      JACK ALLEN DAHL,

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                       Defendant/Judgment Debtor,

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                and

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      MASTER DRYWALL FINISHERS, LLC,

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                             Garnishee.

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            This matter comes before the Court on plaintiffs’ “Application for Renewed Writ of
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     Garnishment” for a continuing lien on the earnings of Judgment Debtor Jack Allen Dahl. The
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19   Court previously granted a similar application (Dkt. # 2) and the writ was issued on July 26,

20   2021 (Dkt. # 3). There is no indication that the writ was served on either the judgment debtor or
21   the garnishee, however, nor is there a garnishee answer on file.
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            The underlying judgment in this matter awarded plaintiffs attorney’s fees and costs in the
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     amount of $8,445.91. Plaintiffs inexplicably seek to garnish an additional $3,127.17 in “Costs
24
     and Attorney’s Fees” plus “Estimated Garnishment Costs” of $555.02, including another $300 in
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26   “Garnishment Attorney Fees.” Dkt. # 4-2 at 2. Some of these fees and costs appear to be related

27   to the writ that was previously issued and abandoned. Absent some justification for the excessive
28   ORDER DECLINING TO ISSUE WRIT OF GARNISHMENT - 1
                Case 2:21-mc-00082-RSL Document 5 Filed 09/29/21 Page 2 of 2



 1   and duplicative fees and costs demanded,1 the Court declines to issue the proposed writ.
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 3          Dated this 29th day of September, 2021.

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                                                   Robert S. Lasnik
 5                                                 United States District Judge
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              To the extent plaintiffs are incurring fees in their continuing efforts to audit Dahl Construction’s
24   payroll and related records, the Honorable Ricardo S. Martinez retained jurisdiction over the underlying
     matter to enter an amended judgment upon determination of the total amounts owed and related fees and
25
     costs. C19-1541RSM, Dkt. # 17 at 8-10. Chief Judge Martinez stressed that plaintiffs will be required to
26   support any request for additional fees and costs through further briefing and the submission of evidence
     in the underlying case. Unadjudicated and unawarded amounts cannot simply be added to a writ of
27   garnishment for collection.
28   ORDER DECLINING TO ISSUE WRIT OF GARNISHMENT - 2
